     Case 3:21-cv-02223-E-BT Document 9 Filed 11/15/21              Page 1 of 1 PageID 40



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

JAMES MATHIEU,                                   §
             Plaintiff,                          §
                                                 §
v.                                               §     No. 3:21-cv-2223-E (BT)
                                                 §
R. BABINEAUX, et al.,                            §
              Defendants.                        §


              ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

        After making an independent review of the pleadings, files and records in this case, and

 the Findings, Conclusions, and Recommendation of the United States Magistrate Judge dated

 October 22, 2021, the Court finds that the Findings and Recommendation of the Magistrate Judge

 are correct, and they are accepted as the Findings, Conclusions, and Recommendation of the Court.

 IT IS, THEREFORE, ORDERED that the Findings, Conclusions, and Recommendation of the

 United States Magistrate Judge are accepted.

        SO ORDERED this 15th day of November, 2021.


                                                 _____________________________________
                                                 ADA BROWN
                                                 UNITED STATES DISTRICT JUDGE
